
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 96-2024

                               AWILDA VILLARINI-GARCIA,

                                 Plaintiff, Appellee,

                                          v.

                            HOSPITAL DEL MAESTRO, ET AL.,

                                Defendants, Appellees.
                                      __________

                               MARIO J. TOMASINI, DR.,

                                Defendant, Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                        [Hon. James L. Watson,* Senior Judge]
                                                ____________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                            Aldrich, Senior Circuit Judge,
                                     ____________________

                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________

            Raul  Davila-Rivera and  Alberto O.  Jimenez  with whom  Bauza and
            ___________________      ___________________             _________
        Davila were on briefs for appellant.
        ______
            Kevin G. Little with whom Law Offices of David Efron was on  brief
            _______________           __________________________
        for appellee.


                                 ____________________

                                    April 24, 1997
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        *Of the Court of International Trade, sitting by designation.












                 BOUDIN, Circuit  Judge.   Dr. Mario J.  Tomasini appeals
                         ______________

            from an adverse judgment against him for medical malpractice.

            Dr. Tomasini makes several claims of error, only one of which

            requires extended discussion.   On that claim, which presents

            a difficult question concerning  offsets to damage awards, we

            conclude that a deduction is required in this case to account

            for payment already received  in settlement by the plaintiff,

            Awilda  Villarini-Garcia,  from  the  hospital for  the  same

            injury.

                 This  case  began with  an  operation  performed by  Dr.

            Tomasini  in September 1986 at Hospital del Maestro in Puerto

            Rico.  During the operation, Dr. Tomasini removed a birthmark

            or  mole from Villarini's back, and a piece of muscle tissue.

            In her later complaint against Dr. Tomasini and the hospital,

            Villarini charged the doctor  with negligence in removing the

            muscle  tissue,  causing  her  continuing  pain and  severely

            impairing her career as a concert pianist.

                 Villarini did not file  her complaint against the doctor

            and hospital until June 1990, well after Puerto Rico's normal

            one year  statute  of  limitations.    31  L.P.R.A.     5298.

            Villarini  argued that  the statute  was tolled  under Puerto

            Rico's discovery rule until she acquired sufficient knowledge

            of the basis of her claim.  The district  court dismissed the

            case on summary judgment  for failure to meet the  statute of

            limitations, and Villarini appealed.



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                 This  court  affirmed  the  dismissal  as  to  three  of

            Villarini's  four claims of negligence but reversed as to one

            claim.  Villarini  v. Hospital  del Maestro, 8  F.3d 81  (1st
                    _________     _____________________

            Cir.  1993).    On that  last  claim,  we  said that  summary

            judgment was  improper and  that it was  likely to be  a jury

            question  whether  Villarini  had  exercised  sufficient  due

            diligence  to give her the  protection of the discovery rule.

            Following  remand,  the hospital  settled with  Villarini for

            $50,000,  and  the  case   proceeded  to  trial  against  Dr.

            Tomasini.

                 At  the end  of the  trial,  the jury  awarded Villarini

            $100,000 for physical and mental damage and $500,000 for loss

            of earnings.   Among other post-trial  requests, Dr. Tomasini

            sought a deduction from the judgment of $50,000, representing

            the amount that  the hospital  had paid in  settlement.   The

            district court refused.   This appeal  followed.  On  appeal,

            Dr.  Tomasini makes six claims  of error, the  last one being

            the denial of the deduction.

                 Four  of  the  claims   relate  to  sufficiency  of  the

            evidence:     Dr.  Tomasini   says  that  the   evidence  was

            insufficient  to allow  Villarini  to escape  the statute  of

            limitations,  or  to   establish  malpractice,  or  to   show

            causation, or to support  the amount awarded.  A  fifth claim

            is  directed  at  testimony   of  an  agent,  who  represents

            musicians, offered  by Villarini to support  her claimed loss



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            of  income;  Dr.  Tomasini  says  that the  witness  was  not

            qualified and lacked an adequate basis for his testimony. 

                 The  challenges  to   the  evidence--as  to  timeliness,

            negligence,  causation,  and damages--are  legitimate issues;

            but having  considered the  evidence described in  the briefs

            and set forth in the record, we think that the jury's verdict

            is  not  irrational  on any  of  these  issues  and that  the

            district  court acted  within its  discretion in  holding the

            expert to  be qualified and his  opinion adequately grounded.

            There is nothing about  these fact-bound issues that warrants

            discussion in a published opinion.

                 The  one  issue  that  does require  discussion  is  Dr.

            Tomasini's  final argument  that  the  $600,000 jury  verdict

            should be reduced by $50,000  to reflect the amount Villarini

            received  in  settlement from  his  former  co-defendant, the

            Hospital  del Maestro.  After  the jury rendered its verdict,

            Dr.  Tomasini filed  a timely  motion under  Fed. R.  Civ. P.

            59(e) to amend the judgment to deduct the $50,000 settlement,

            and the district court denied the motion.  

                 The court based its denial on the fact that the hospital

            was  not  "jointly" liable  for  the  injury along  with  Dr.

            Tomasini;  rather it  was  sued only  on vicarious  liability

            grounds.  See 31 L.P.R.A.   5142.  Villarini presses the same
                      ___

            objection  on  appeal.    Implicit in  the  district  court's

            ruling, and  explicit in Villarini's argument,  is the notion



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            that there is no  right to offset an earlier  settlement made

            by a  co-defendant where  the remaining co-defendant  did not

            have  a  right  of  contribution  against  the  settling  co-

            defendant.1   This presents a legal issue that we consider de
                                                                       __

            novo,  and  conclude that  the  linkage  of contribution  and
            ____

            offset has no sound basis.

                 In almost all jurisdictions,  settlement payments to the

            plaintiff from one  of several  joint tortfeasors--those  who

            actively  contributed to the same injury--reduce any judgment

            later   secured   against   the  nonsettling   tortfeasor(s).

            McDermott v. AmClyde,  511 U.S.  202, 208 (1994).   The  only
            _________    _______

            debate is  whether this reduction  is to be made  by a simple

            dollar-for-dollar   offset  or  through  a  more  complicated

            proportional liability formula.  Id. at 208-17.  See 6 Minzer
                                             ___             ___

            et al., Damages in Tort Actions   51.25[1] (1966).
            ______  _______________________

                 Conversely, the  usual rule is that  a plaintiff's award

            will  not be reduced  for payments or  benefits received from

            sources  independent   of  those   who  wronged  him.     See
                                                                      ___

            Restatement (Second) of Torts    920A(2) (1991); Robertson v.
            _____________________________                    _________

            White,  81 F.3d 752, 758  (8th Cir. 1996).   This "collateral
            _____

            source" rule allows  a plaintiff to receive  payments such as

            charitable  donations  and  payments  from  his  own  insurer

                                
            ____________________

                 1For  obvious  reasons,  under   Puerto  Rico  law,   as
            elsewhere, the active tortfeasor has no right of contribution
            against  another whose  liability  to the  victim is  at best
            vicarious.  See  FDIC v. Consolidated Mortgage, 805  F.2d 14,
                        ___  ____    _____________________
            19 (1st Cir. 1986).

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            without  losing the ability to recover the full amount of his

            loss from the wrongdoer or wrongdoers.

                 A few courts have  refused to offset payments made  by a

            settling co-defendant  who turned out later not  to be liable

            as a joint tortfeasor with  the nonsettling defendant.  E.g.,
                                                                    ____

            Medical Center of Delaware v. Mullins, 637 A.2d 6, 9-10 (Del.
            __________________________    _______

            1994); Collier  v. Eagle-Picher  Indus., Inc., 585  A.2d 256,
                   _______     __________________________

            265-67 (Md. App. 1991).   The rationale of these  holdings is

            that  since the  primarily liable  defendant would  have been

            obligated to pay  the entire  damage amount  if the  settling

            party had never  been sued  (or did not  settle), the  former

            should not reap the benefit of a fortuitous settlement by the

            latter.  Mullins, 637 A.2d at 10.  
                     _______

                 The so-called "modern rule" expressed in the Restatement
                                                              ___________

            (Second) of Torts is very much to the contrary:  it says that
            _________________

            any payment "made in compensation of a claim for a harm" will

            reduce the liability of the remaining defendants, "whether or

            not  the person making the  payment is liable  to the injured

            person."  Id.   885(3) and comment (f).  See also Restatement
                      ___                            ________ ___________

            (Second) of Judgments   50(2) (1982).  Many cases express the
            _____________________

            right  of  offset  in  the  same  unqualified  terms  as  the

            Restatement (although  not all  happen to involve  a settling
            ___________

            co-defendant who  is vicariously liable).2   So, too,  does a

                                
            ____________________

                 2See Husky  Refining Co. v.  Barnes, 119  F.2d 715,  716
                  ___ ___________________     ______
            (9th Cir. 1941); Lafayette v. County of Los Angeles, 208 Cal.
                             _________    _____________________
            Rptr.  668, 672-73 (Cal. Ct.  App. 1984); Harriss v. Elliott,
                                                      _______    _______

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            lucid discussion  in the leading text,  together with reasons

            for  the Restatement rule.  Keeton et al., Prosser and Keeton
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            on Torts   49, at 335-36 (5th ed. 1984).  
            ________

                 Puerto Rico law is  controlling in this case and  if the

            Puerto Rico courts had spoken  to the precise question before

            us, their expressed view would be followed here.  But no such

            ruling has been cited to us, and we can find none on our own.

            In  such  situations  we  may  refer  to  common  law  rules.

            Fireman's Fund Am. Ins.  Co. v. Almacenes Miramar, Inc.,  649
            ____________________________    _______________________

            F.2d 21, 25 &amp;  n.3 (1st Cir. 1981); Futurama  Import Corp. v.
                                                ______________________

            Trans Caribbean Airways, 104  D.P.R. 609, 4 O.T.S.C.P.R. 854,
            _______________________

            861-62 (1976).   Perhaps  more importantly,  we do  know that

            Puerto Rico  has disallowed  double recoveries in  a somewhat

            analogous context,  expressing a general hostility  to double

            recovery.

                 In a set of cases, the Supreme Court of Puerto Rico held

            that  a  plaintiff's  tort  recovery  against  a non-employer

            defendant  must  be  reduced  by  any  workers'  compensation

            payments that the plaintiff had already  received from, or on

            behalf  of, his employer.   See Robles v.  Superior Court, 85
                                        ___ ______     ______________


                                
            ____________________

            565  N.E.2d 1041, 1044-45  (Ill. App.  Ct. 1991);  Mulinix v.
                                                               _______
            Saydel Consol.  Sch. Dist., 376 N.W.2d 109,  110-11 (Iowa Ct.
            __________________________
            App. 1985); Steger v. Egyud, 149 A.2d 762, 767-68 (Md. 1959);
                        ______    _____
            Midway  Nat'l Bank v. Estate of Bollmeier, 504 N.W.2d 59, 65-
            __________________    ___________________
            66 (Minn. Ct. App.  1993); Kirby v. New Mexico  State Highway
                                       _____    _________________________
            Dep't,  643 P.2d 256, 259-260  (N.M. Ct. App.  1982); Mead v.
            _____                                                 ____
            Bloom,  464  N.Y.S.2d  904,  904-05 (N.Y.  App.  Div.  1983);
            _____
            Bellamy v. Prime, 270 N.Y.S.2d 93, 94 (N.Y. App. Div. 1966).
                       _____

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            P.R.R. 640, 647 (1962);  Sanabria v. White Star Bus  Line, 50
                                     ________    ____________________

            P.R.R. 722, 725 (1936);  Machado v. The American R.R.  Co. of
                                     _______    _________________________

            P.R.,  49 P.R.R. 823, 831-32  (1936).  The  Robles court said
            ____                                        ______

            that  these cases were "inspired on the principle that no one

            should  or may  unjustly enrich  himself by  receiving double

            compensation for the same accident."  85 P.R.R. at 647.

                 The  collateral source  rule,  also  followed in  Puerto

            Rico,  Futurama,  4 O.T.S.C.P.R.  at  857-60,  obviously does
                   ________

            permit double  recovery in certain situations; but it does so

            primarily where  the extra  benefit comes from  insurance for

            which  the plaintiff could  easily have paid  or from private

            generosity  aimed  at benefiting  the  victim  rather than  a

            wrongdoer.   Payments from prospective co-defendants, whether

            vicariously  or jointly  liable, are  clearly of  a different

            character.    See Restatement  (Second)  of  Judgments    50,
                          ___ ____________________________________

            comment (e) (1982).

                 Absent good reason--and none is suggested to  us--courts

            are  loath  to  promote  double recoveries.    See  generally
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            Torres-Troche v. Municipality of  Yauco, 873 F.2d 499, 501-02
            _____________    ______________________

            (1st  Cir. 1989).  Even more troubling, without an offset the

            primary  tortfeasor  could  easily  be  made  to  pay  twice:

            ordinarily,  a  vicariously liable  master who  settled would

            have an  independent  claim for  indemnification against  the

            careless  servant.    See  31 L.P.R.A.     5143;  Restatement
                                  ___                         ___________

            (Second) of Agency   401 and comment (d) (1958).
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                 Here,  we  are  told that  the  hospital  not only  paid

            $50,000  to Villarini but purported to transfer its claim for

            indemnification to  Villarini; and Villarini told  us at oral

            argument that no further suit on the indemnification claim is

            now  possible.    Even   so,  no  apparent  justification  is

            suggested here for double  recovery by the victim.   The jury

            assessed  total  injury at  $600,000  and  until Puerto  Rico

            instructs otherwise,  we see  no reason why  Villarini should

            enjoy compensation of $650,000 from the former co-defendants.

                 Accordingly, we  remand the case to  the district court,

            direct that  the judgment be reduced  by $50,000 representing

            the amount paid in settlement  by the hospital, and otherwise

            affirm the judgment.

                 It is so ordered.
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